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APL CO. PTE LTD.
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

APL CO. PTE LTD.,
                                                           Civil Action No.
       Plaintiff,                                     2:19-cv-20628-BRM-JAD
v.
WARRIOR EXPRESS INC., PORT
KEARNY SECURITY, INC., JOHN
DOES AND XYZ CORPS,
       Defendants.


     ORDER ON DEFAULT JUDGMENT UNDER FED. R. CIV. P. 55(b)(2)

       The Court considered Plaintiff APL CO. PTE LTD.’s (“APL”) application
for entry of a default judgment against Defendant WARRIOR EXPRESS INC.
(“WARRIOR”) under Rule 55(b)(2) of the Federal Rules of Civil Procedure. (ECF
No. 19.) After considering the papers submitted in connection with the application
and the papers on file in this action, and the authorities cited, the court finds as
follows:
      1.      A default was entered against WARRIOR on February 28, 2020.
       2.     WARRIOR is not a minor, an incompetent person, or a current
member of the military service.
       3.     WARRIOR did not appear in this action.
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      4.     APL has established that WARRIOR is liable to APL for damages, the amount to
be calculated at a later date.
      5.     APL's Motion (ECF No. 19) is GRANTED.

      6.     All relief not expressly granted is denied.




Dated: September 18, 2020              ____________________________________
                                       HON. BRIAN R. MARTINOTTI
                                       UNITED STATES DISTRICT JUDGE




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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true copy of the foregoing was filed
on March 12, 2020 via the Court’s electronic filing system, which will provide
electronic notice to all counsel of record.

                                               /s/ Brittany Primavera
                                              Brittany Primavera




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